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 1                                                                    HONORABLE THOMAS S. ZILLY

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 7
                                   UNITED STATES DISTRICT COURT
 8                                WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
 9
     HUNTERS CAPITAL, LLC, et al.,
10                                                       Case No. 20-cv-00983
                             Plaintiffs,
11                                                       SUPPLEMENTAL DECLARATION OF
                 v.                                      SHANE P. CRAMER IN SUPPORT OF CITY
12                                                       OF SEATTLE’S REPLY IN SUPPORT OF
     CITY OF SEATTLE,                                    MOTION FOR SPOLIATION SANCTIONS
13                                                       AGAINST PLAINTIFFS HUNTERS CAPITAL;
                             Defendant.                  RICHMARK LABEL; MATTHEW PLOSZAJ;
14                                                       CAR TENDER; BERGMAN’S LOCK & KEY;
                                                         WADE BILLER; AND ONYX
15                                                       HOMEOWNERS ASSOCIATION

16

17          I, Shane P. Cramer, declare as follows:

18          1.        I am one of the attorneys representing the City of Seattle in this action. I am over

19   age 18, competent to be a witness, and making this declaration based on facts within my own

20   personal knowledge.

21          2.        Exhibits 1 through 25 were attached to my September 29, 2022 Declaration in

22   Support of City of Seattle’s Motion for Spoliation Sanctions against Plaintiffs Hunters Capital;

23   Richmark Label; Matthew Ploszaj; Car Tender; Bergman’s Lock & Key; Wade Biller; and Onyx

24   Homeowners Association (Dkt. 108), and have not been attached hereto.

25          3.        Attached as Exhibit 26 is a true and correct copy of excerpts from Plaintiff Wade

     SUPPLEMENTAL DECLARATION OF SHANE P. CRAMER IN                                      LAW OFFICES
                                                                         HARRIGAN LEYH FARMER & THOMSEN LLP
     SUPPORT OF CITY OF SEATTLE’S REPLY IN SUPPORT OF                           999 THIRD AVENUE, SUITE 4400
                                                                                SEATTLE, WASHINGTON 98104
     MOTION FOR SPOLIATION SANCTIONS - 1                                     TEL (206) 623-1700 FAX (206) 623-8717
     (Case No. 20-cv-00983)
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 1   Biller’s Answers and Responses to Defendant City of Seattle’s First Discovery Requests, dated

 2   January 15, 2021.

 3          4.      Attached as Exhibit 27 is a true and correct copy of excerpts from Plaintiff Onyx

 4   Homeowners Association’s Answers and Responses to Defendant City of Seattle’s First Discovery

 5   Requests, dated January 15, 2021.

 6          5.      Attached as Exhibit 28 is a true and correct copy of excerpts from the deposition of

 7   Lonnie Thompson, taken in this matter on May 4, 2021.

 8          6.      Attached as Exhibit 29 is a true and correct copy of excerpts from the deposition of

 9   Wade Biller, taken in this matter on December 10, 2021.

10          7.      It is my understanding that my office worked with certain City employees to collect

11   and produce text messages from their personal phones where we were aware that the employees

12   used their personal phones to regularly send and receive work-related text messages, including

13   producing texts from City employee Michael Wells’ personal phone on or about May 31, 2021 and

14   producing texts from City employee Chris Fisher’s personal phone on or about August 18, 2022.

15          8.      Attached as Exhibit 30 is a true and correct copy of excerpts from the deposition of

16   Brandon Leatha, taken in this matter on September 16, 2022.

17          9.      Attached as Exhibit 31 is a true and correct copy of an email dated June 27, 2020

18   from plaintiffs’ counsel, Angelo Calfo, to several plaintiffs including Bill Donner, attaching a letter

19   to the City of Seattle dated the same day. This document has been produced in this matter by

20   Plaintiffs under Bates number CHOP-0052234-CHOP-0052237.

21          10.     Attached as Exhibit 32 is a true and correct copy of excerpts from the deposition of

22   Matthew Ploszaj, taken in this matter on June 10, 2021.

23          11.     Attached as Exhibit 33 is a true and correct copy of excerpts from the deposition of

24   John McDermott, taken in this matter on January 19, 2022.

25          12.     It is my understanding that Bergman’s Lock & Key produced no emails or texts in

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 1   discovery in this action.

 2           13.     Attached as Exhibit 34 is a true and correct copy of excerpts from Plaintiff Car

 3   Tender’s Answers and Responses to Defendant City of Seattle’s First Discovery Requests dated

 4   January 15, 2021.

 5           14.     Attached as Exhibit 35 is a true and correct copy excerpts from the Local

 6   Government Common Records Retention Schedule (CORE) version 4.2 dated August 2021. This

 7   document was collected from the State of Washington Secretary of State website at

 8   https://www2.sos.wa.gov/_assets/archives/recordsmanagement/local-government-common-

 9   records-retention-schedule-core-v.4.2-(august-2021).pdf on November 15, 2022.

10           15.     Attached as Exhibit 36 is a true and correct copy of excerpts from the deposition of

11   LaRisa DeYoung, taken in this matter on September 19, 2022.

12           16.     Attached as Exhibit 37 is a true and correct copy of the City’s August 19, 2022

13   notice of intent to serve a subpoena on LaRisa DeYoung, attaching a copy of the City’s subpoena

14   to Ms. DeYoung for testimony and documents, which was served on Ms. DeYoung’s counsel,

15   Morgan Lewis & Bockius (i.e. Plaintiffs’ counsel), on August 19, 2022.

16           I declare under the penalty of perjury under the laws of the United States that the foregoing

17   is true and correct.

18           DATED this 15th day of November 2022, at Seattle, Washington.

19
                                                   s/ Shane P. Cramer
20                                                 SHANE P. CRAMER
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